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                 Exhibit A
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

     CHRISTEPHER BATTS et al.,
                      Plaintiffs, Case No. 22-10685
                                  Honorable Shalina D. Kumar
     v.                           Magistrate Judge Curtis Ivy, Jr.

     GANNETT CO.,
                           Defendant.


           OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
                          DISMISS (ECF NO. 18)


      I.     INTRODUCTION AND FACTUAL BACKGROUND

           Plaintiffs Christepher Batts, Carolyn Braun, Velma Coleman, Johnny

 Sabbag, and Asha Mareddy, on behalf of themselves and others similarly

 situated, sued defendant Gannett Co., as publisher of the USA Today

 magazine and newspaper, for violations of Michigan’s Preservation of

 Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-

 4 (Mich. 1988), id. § 5 (PPPA). ECF No. 17. Plaintiffs, all citizens of

 Michigan, allege that they were subscribers to USA Today newspaper prior

 to July 31, 2016.1 Id. at PageID.617-22. Plaintiffs allege that Gannett



 1
  PPPA was amended by the Michigan legislature in May 2016. Under the
 amended PPPA, effective July 31, 2016, the $5,000 statutory penalty was
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 disclosed, without the requisite consent or prior notice, the plaintiffs’ full

 names, titles of publications subscribed to, and home address, as well as

 other demographic data such as gender and interests, to data aggregators,

 data appenders, and/or data cooperatives. Id. at PageID.616-18. As a

 result of the unauthorized disclosures, plaintiffs received a barrage of

 unwanted junk mail and other invasions of their protected right to privacy

 under the PPPA. Id. at PageID.615, 639.

           Defendant filed a motion to dismiss plaintiffs’ complaint based on the

 expiration of the statute of limitations applicable to the PPPA and the

 plaintiffs’ lack of standing under the PPPA and under Article III of the

 Constitution. ECF No. 18. The motion was fully briefed, the Court heard

 oral argument on it on February 22, 2023, and the matter is now ripe for

 decision. ECF Nos. 20, 21.2

     II.     ANALYSIS

                                          A.




 eliminated, and plaintiffs could recover only proven actual damages. M.C.L.
 § 445.1715(2).
 2
  By leave of the Court, Gannett also filed a notice of supplemental
 authority to highlight the recent decision from the Eastern District of
 Michigan, Nashel v. The New York Times Co., 22-cv-10633 (E.D. Mich.
 Oct.11, 2022). ECF No. 22.
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        Gannett does not specify which procedural rule (or the corresponding

 standard for determination) it relies upon for its motion to dismiss. Gannett

 argues that plaintiffs lack Article III standing to bring their claims under

 PPPA. Article III standing is a threshold jurisdictional issue and “[i]f no

 plaintiff has standing, then the court lacks subject-matter jurisdiction.”

 Tennessee General Assembly v. United States Dep’t of State, 931 F.3d

 499, 507 (6th Cir. 2019).

        A defendant may move under Federal Rule of Civil Procedure

 12(b)(1) to dismiss a case “for lack of subject matter jurisdiction.”

 Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014). “A Rule 12(b)(1)

 motion for lack of subject matter jurisdiction can challenge the sufficiency of

 the pleading itself (facial attack) or the factual existence of subject matter

 jurisdiction (factual attack).” Id. (citing United States v. Ritchie, 15 F.3d 592,

 598 (6th Cir. 1994)). “A facial attack goes to the question of whether the

 plaintiff has alleged a basis for subject matter jurisdiction, and the court

 takes the allegations of the complaint as true for purposes of Rule 12(b)(1)

 analysis,” but “[a] factual attack challenges the factual existence of subject

 matter jurisdiction.” Id. Where, as in the instant case, the defendant argues

 that the allegations in the complaint are insufficient to establish Article III




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 standing, the court should accept all well-pleaded allegations as true and

 confine consideration to matters contained within the pleadings. Id.

        Gannett also argues that plaintiffs lack standing to sue under the

 PPPA. The argument that a plaintiff lacks statutory standing to bring a

 claim is “analytically distinct” from the issue of Article III or prudential

 standing and is not a question of subject-matter jurisdiction. Roberts v.

 Hamer, 655 F.3d 578, 580 (6th Cir. 2011)). Statutory standing assesses

 whether a plaintiff is within a class of persons authorized by statute to sue,

 or, in other words, “has a cause of action under the statute.” Galaria v.

 Nationwide Mutual Ins. Co., 663 F. App’x 384, 391 (6th Cir. 2016) (quoting

 Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127-28

 (2014)) (quotation marks omitted). Accordingly, “statutory standing” is

 treated as a failure-to-state-a-claim argument and reviewed under the Rule

 12(b)(6) standard. Id.; Roberts, 655 F.3d at 581.

        “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must

 contain sufficient factual matter, accepted as true, to state a claim to relief

 that is plausible on its face.” Golf Village N., LLC v. City of Powell, 14 F.4th

 611, 617 (6th Cir. 2021) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)) (internal

 marks omitted). “A claim has facial plausibility when the plaintiff pleads


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 factual content that allows the court to draw the reasonable inference that

 the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

 Courts construe the complaint in the light most favorable to the plaintiffs

 and draw all reasonable inferences in their favor. Golf Village, 14 F.4th at

 617 (citing Cahoo v. SAS Analytics Inc., 912 F.3d 887, 897 (6th Cir. 2019)).

 When a complaint does adequately state a claim, it may not be dismissed

 based on the court’s “assessment that the plaintiff will fail to find evidentiary

 support for his allegations or prove his claim to the satisfaction of the

 factfinder.” Twombly, 550 U.S. at 563, n.8.

        “[B]ecause the statute of limitations is an affirmative defense, a

 12(b)(6) motion to dismiss ‘is generally an inappropriate vehicle for

 dismissing a claim based upon the statute of limitations.’” Pratt v. KSE

 Sportsman Media, Inc., 586 F. Supp. 3d 666, 671 (E.D. Mich. 2022)

 (quoting Cataldo v. U.S. Steel Corp., 676 F.3d 542, 547 (6th Cir. 2012)).

 Allegations demonstrating that relief is barred by the applicable statute of

 limitations, however, provide an exception to this general rule. Id. (citing

 Jones v. Bock, 549 U.S. 199, 215 (2007)).

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        Plaintiffs bear the burden of demonstrating that they have standing to

 sue under Article III of the Constitution. 3 Lujan v. Defenders of Wildlife, 504

 U.S. 555, 560–61 (1992). To discharge this burden, plaintiffs must establish

 three elements: an injury in fact, “a causal connection between the injury

 and the conduct complained of,” and that the injury will be redressed if the

 court grants the requested relief. Id. Gannett only challenges the existence

 of an injury in fact.

        An injury in fact is an “invasion of a legally-protected interest.” Exel,

 Inc. v. S. Refrigerated Transp., Inc., 807 F.3d 140, 148 (6th Cir. 2015). To

 establish an injury in fact, the plaintiffs must demonstrate that they have

 suffered an injury that is “concrete and particularized” and “actual or

 imminent, not conjectural or hypothetical.” Lujan, 504 U.S. at 560 (citation

 and internal quotation marks omitted). An injury is particularized if it

 “affect[s] the plaintiff in a personal and individual way.” Spokeo, Inc. v.




 3
   Gannett emphasized at oral argument that it argues that plaintiffs lack
 Article III standing as an alternative to its argument that the three-year
 statute of limitations (M.C.L. § 600.5805) applies to their PPPA claims.
 Notwithstanding Gannett’s characterization of the argument, the Court
 understands Article III standing to be a threshold issue and thus addresses
 it before reaching Gannett’s arguments on the merits, including whether
 plaintiffs’ claims are barred by the statute of limitations. See Tennessee
 General Assembly, 931 F.3d at 507.
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 Robins, 578 U.S. 330, 339 (2016). An injury is concrete if it is “real, and not

 abstract.” Id. at 340.

        Gannett’s argument that PPPA plaintiffs lack Article III standing has

 been decisively rejected by the Sixth Circuit and district courts alike. See

 Coulter-Owens v. Time Inc., 695 F. App’x 117, 121 (6th Cir. 2017); Pratt,

 586 F. Supp. 3d at 677 (collecting cases). “[G]iven that the [PPPA] contains

 an express private right to sue, it confers statutory standing on a person

 whose information was disclosed in violation of it. Moreover, the disclosure

 of that information is a cognizable injury in fact for purposes of Article III

 standing.” Coulter-Owens, 695 F. App’x at 121. The Court finds that it has

 been conclusively established that “a violation of the PPPA necessarily

 arises from the nonconsensual dissemination of information that reflects a

 plaintiff’s personal reading choices, which acutely invades a statutorily

 protected right to privacy in such matters and, thus, inflicts harm in a

 concrete and particularized way….” Pratt, 586 F. Supp. 3d at 676-77.

        Contrary to Gannett’s argument, the Supreme Court’s recent

 TransUnion case does not alter the settled matter of a PPPA violation

 satisfying the Article III standing requirement for a concrete and

 particularized injury in fact. TransUnion LLC v. Ramirez, 141 S. Ct. 2190

 (2021). TransUnion merely reiterates the canons of Spokeo: that a plaintiff


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 must suffer “physical, monetary, or cognizable intangible harm traditionally

 recognized as providing a basis for a lawsuit” to establish standing under

 Article III. TransUnion, 141 S. Ct. at 2206; Spokeo, 578 U.S. at 340-41. As

 courts within and outside this circuit have consistently decided, the

 unauthorized disclosure of personal reading information is the invasion of

 the privacy right protected by PPPA and inflicts such a cognizable

 intangible harm. Pratt, 586 F. Supp. 3d at 676-78. Courts likewise have

 uniformly concluded that PPPA violations are not bare statutory violations

 but infringements of individual privacy rights akin to those recognized by

 American courts over the past century. See Perlin v. Time Inc., 237 F.

 Supp. 3d 623, 640-41 (E.D. Mich. 2017); Lin v. Crain Communications Inc.,

 2020 WL 248445, at *6 (E.D. Mich. Jan. 16, 2020); see also Moeller v.

 American Media, Inc., 235 F. Supp. 3d 868, 873 (E.D. Mich. 2017)

 (“Subscribers’ right to privacy in their personal reading information is

 grounded in an interest traditionally regarded as providing a basis for

 lawsuit in English and American courts.”) (internal quotations omitted).

 Nothing in TransUnion requires the Court to depart from the well-

 established understanding that a properly alleged PPPA claim confers

 Article III standing.




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        Finally, Gannett argues that plaintiffs’ assertion that the three-year

  statute of limitations for an “injury to person or property” cannot apply to a

  PPPA violation belies their argument that they have sustained an injury-in-

  fact for Article III standing purposes. M.C.L. § § 600.5805(2), 600.5813.

  Courts have patently rejected this conflation of the injury-in-fact concept for

  standing purposes with the “injury to person or property” definition relevant

  for ascertaining the statute of limitations applicable to PPPA. See Pratt, 586

  F. Supp. 3d at 676, 678; Krassick v. Archaeological Institute of America,

  2022 WL 2071730, at *3 (W.D. Mich. June 9, 2022). Statutes of limitations

  are not jurisdictional and have no impact on Article III standing or

  jurisdiction. Pratt, 586 F. Supp. 3d at 676. Indeed, “a statutory cause of

  action does not lack Article III standing simply because Michigan Compiled

  Laws § 600.5813 applies to it.” Id. To the contrary, a PPPA claim presents

  an intangible harm providing ample constitutional mooring for Article III

  purposes even though it “does not arise from a personal injury or actual

  damages” necessary to trigger § 600.5805(2)’s three-year limitation

  period.” Id. at 677-78.

        Plaintiffs’ PPPA claim confers Article III standing and thus establishes

  subject matter jurisdiction in this Court.

                                          C.


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        Plaintiffs claim that the statutory period to bring action under the

  PPPA is six years under Michigan's catch-all limitations period, M.C.L. §

  600.5813. Gannett counters that the three-year limitations period under

  M.C.L. § 600.5805 should apply because a PPPA claim is at bottom a

  common law privacy tort claim, or one for personal injury. Consistent with

  the now well-established rulings from courts within the circuit, the Court

  finds that the six-year limitations period applies to the plaintiffs’ claims.

        In Michigan, “a civil cause of action arising from a statutory violation

  is subject to the six-year limitation period found in § 5813, if the statute

  itself does not provide a limitation period.” DiPonio Constr. Co. v. Rosati

  Masonry Co., 631 N.W. 2d 59, 66 (Mich. Ct. App. 2001); see also Palmer

  Park Square v. Scottsdale Ins. Co., 878 F.3d 530, 539-40 (6th Cir. 2017).

  Plaintiffs’ cause of action arises from the PPPA, which “lacks an explicit

  limitations period,” and “thus fits perfectly into that succinct rule.” Nashel v.

  New York Times Co., 2022 WL 6775657, at *3 (E.D. Mich. Oct. 11, 2022).

        Further, an injury to the right to privacy in reading materials is not a

  traditional common-law tort. Krassick, 2022 WL 2071730, at *3. “Although

  such a right is ‘similar in kind’ to rights protected by the common-law tort of

  invasion of privacy, the right to privacy in one’s reading materials is

  nonetheless the creation of a statute; it did not exist under common law.”


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  Id. (citing Perlin, 237 F. Supp. 3d at 640). Because a PPPA plaintiff’s right

  to recovery arises from a statute rather than common-law, the six-year

  limitation period applies. Id. (citing Nat’l Sand, Inc. v. Nagel Constr., Inc.,

  451 N.W. 2d 618, 622 (Mich. Ct. App. 1990)); see also, Pratt, 586 F. Supp.

  3d at 673. Accordingly, the Court finds that the six-year statute of

  limitations under § 600.5813 applies to plaintiffs’ PPPA claims. Plaintiffs

  filed their complaint on March 31, 2022; plaintiffs may recover for any

  Gannett disclosure between December 21, 20154 and July 30, 2016.

                                          D.

        Gannett argues that plaintiffs’ PPPA claims should be dismissed on

  the grounds that plaintiffs lack standing under the PPPA because they were

  not USA Today subscribers and Gannett did not disclose their subscriber

  information to various third parties during the relevant time period. Gannett

  relies on the declaration of its employee, Helen Trask, who denied that

  plaintiffs were USA Today subscribers and that Gannett disclosed their


  4
    Michigan Executive Order 2020-58 and Michigan Supreme Court
  Administrative Order 2020-3 tolled that statute of limitations for 101 days.
  Accordingly, the plaintiffs may recover for violative disclosures dating back
  to December 21, 2015, not March 31, 2016 (six years from the date the
  complaint was filed). See Carter v. DTN Mgmt. Co., ___ N.W.2d ___, 2023
  WL 439760, at *1 (Mich. Ct. App. Jan. 26, 2023) (interpreting AO 2020-18
  to broadly exclude any day within the state of emergency “for purposes of
  determining the deadline applicable to the commencement of all civil and
  probate case types’”) (quoting AO 2020-18).
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  subscriber information to list brokers, data aggregators, data cooperatives,

  data brokers, or other intermediaries from January 1, 2015 to July 31,

  2016. ECF No. 18-1.

        As noted above, statutory standing assesses whether a plaintiff has a

  cause of action under the statute and is thus treated as a failure-to-state-a-

  claim argument and reviewed under the Rule 12(b)(6) standard. Galaria,

  663 F. App’x at 391; Roberts, 655 F.3d at 581. The court may not consider

  matters outside the pleadings when deciding a Rule 12(b)(6) motion to

  dismiss. Randick v. Sawhill, 530 F. Supp. 3d 720, 723 (E.D. Mich. 2021)

  (citing Weiner v. Klais & Co., Inc., 108 F.3d 86, 88 (6th Cir. 1997)). A court

  that considers such matters must first convert the motion to dismiss to one

  for summary judgment. See Fed. R. Civ. P 12(d).

        Gannett relies on Rogers v. Stratton Indus., Inc., 798 F.2d 913, 918

  (6th Cir. 1986) to argue that a complaint may be properly dismissed under

  Rule 12(b)(6) standards if the movant’s affidavit is clear and unequivocal,

  and plaintiffs fail to submit a counter-affidavit sufficient to raise a genuine

  issue of material fact. ECF No. 21, PageID.1239. Gannett’s reliance on

  Rogers speciously ignores the court’s specific acknowledgment that “in a

  Rule 12(b)(6) motion in which matters outside the record are relied upon as

  they were here” with each party filing an affidavit, the motion must be


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  converted to a Rule 56 motion. Rogers, 798 F.2d at 915 (citing Fed. R. Civ.

  P. 56(c)). The Court declines to convert Gannett’s motion to dismiss to that

  for summary judgment and thus cannot consider the proffered declaration

  to refute plaintiffs’ well-pleaded allegations that they were USA Today

  subscribers and that Gannett disclosed their private reader information

  without their authorization within the relevant time period. The Court must

  accept plaintiffs’ allegations as true and finds that they are sufficient to

  state a claim for relief that is plausible on its face.

     III.     CONCLUSION

            For these reasons, the Court DENIES Gannett’s motion to dismiss.

  ECF No. 18.



                                        s/Shalina D. Kumar
                                        SHALINA D. KUMAR
                                        United States District Judge
  Dated: March 30, 2023




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